Case [2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 1of70 Page ID #:1

1 || Eugene J. Egan (State Bar No. 130108)
~ eje@manninglip.com
Joshua K. Babataher (State Bar No. 311367)
Mv emanningtl com
TANNING & KASS a |
ELLROD, RAMIREZ, TRESTER LLP
/801 8. Figueroa St, 15" Floor
Los Angeles, California 90017-3012
Telephone: (213) 624-6900
Facsimile: (213) 624-6999

Attorneys for Defendant,
TARGET CORPORATION

bea.

 

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UNITED STATES DISTRICT COURT
10 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

12 || JON SHIFFMAN, Case No.
Plaintiff, (State Court Case No. 19STCV10275)

et Law

14 VS.

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MIREZ, TRESTER ur
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NOTICE OF REMOVAL OF

15 || TARGET CORPORATION, YOHANA | ACTION UNDER 28 U.S.C.
HANA, SARAH LIF SCHUTZ and 1a61)| DIVERSITY ;

DOES | through 20, Inclusive ECLARATION OF JOSHUA K.
BABATAHER

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Defendant(s).

 

 

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant TARGET CORPORATION
(hereinafter, "Target") hereby removes to this Court the state court action described
below.

1, On March 26, 2019, an action was commenced in the Superior Court of
the State of California in and for the County of Los Angeles, entitled JON
SHIFFMAN, Plaintiff vs. TARGET CORPORATION, YOHANA HANA. SARAH
LIFSCHUTZ and DOES | through 20, inclusive, Defendants, as Case Number
19STCV10275 (the "Action). A true and correct copy of the Complaint is attached

4836-1116-9688 1 | Case No.
NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1441(b)1 (DIVERSITY); DECLARATION OF | __

 

 

 

 

 

   
     

 
Case 2:19-cv-04986-MWF-GJS Document1 Filed:06/07/19 Page 2 of 70 Page ID #:2

 
 

I [hereto as Exhibit "A."
ae 2. Target was first served a copy of the Complaint on May 9, 2019, when
counsel for Plaintiff caused to be served, by a process server, a copy of the
Complaint and summons on Target's Registered Agent, CT Corporation in
|, California. A true and correct copy of the service of process transmittal is attached
hereto as Exhibit "B." Target filed an Answer to Plaintiff's Complaint on June 5,
2019. A true and correct copy of Target's Answer to Plaintiff's Complaint is attached
hereto as Exhibit "C."

3. Target iS informed and believes that Plaintiff was, at the time he filed

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the Action and still is, a citizen of the State of California.
| 4. Defendant Target first learned that the amount in controversy exceeded
$75,000.00 when it received Plaintiff's Statement of Damages, served with
13 | Plaintiff's Complaint on May 9, 2019. In his Statement of Damages, Plaintiff alleges
14| : $750,000.00 in general damages. A true and correct copy of Plaintiff's Statement of
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Damages is attached hereto as Exhibit "D."
16 5. This removal is filed within thirty (30) days of service of Plaintiff's

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17 | Complaint.

18 6. This action is a civil action of which this Court has original jurisdiction
19 |) under 28 U.S.C. §1332, and is one which may be removed to this Court by

20 || defendant pursuant to the provisions of 28 U.S.C. §1441(a) in that it is a civil action
21 || between citizens of different states and the matter in controversy exceeds the sum of
22 || $75,000, exclusive of interest and costs.

23 7. Target Corporation was, at the time of the filing of this action, and still
24 || is, a citizen of the State of Minnesota, incorporated under the laws of the State of

25 || Minnesota, with its principal place of business in the State of Minnesota. Both the
26 || California Secretary of State and Minnesota Secretary of State identify Target

27 || Corporation as a Minnesota Corporation with its principal address at 1000 Nicollet

28 || Mall, Minneapolis, Minnesota 55403 on their respective websites. True and correct
4836-1116-9688.1 2 Case No.
NOTICE OF REMOVAL OF ACTION UND.

 

 

 

    

 

 
 
Case 2:19-cv-04986-MWF-GJS Document1 Filed-06/07/19 Page 3 of 70 Page ID #:3

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copies of search results for Target Corporation on those websites are attached hereto
as Exhibit "E."

8. Target Corporation is the only properly named defendant in this action
for purposes of determining diversity jurisdiction. The general rule that, under 28 —
FULS.C.§ 1446(a) all defendants in a state action must join in the petition for
|removal, except for nominal, unknown or fraudulently joined patties, only applies to
defendants properly joined and served in the action. See Salveson v. Western States
| Bankard Ass'n., 731 F. 2d 1423, 1429 (9" Cir. 1984) (noting "a party not served

need not be j joined" ina petition for removal). To date, proofs of service have not _

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been filed as to any defendant, other than Target. A true and correct copy of the.

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proof of service as to Target is attached hereto as Exhibit "F." A true and correct

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copy of the list of documents filed in this case, listed on the Los Angeles Superior

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|| Court website, is attached hereto as Exhibit "G."

 

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9. Target is the only properly named defendant in this action. The

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|| defendants designated as DOES | to 20 are fictitiously named and their citizenship

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shall not be considered in determining diversity jurisdiction. 28 U.S.C. §1446(b).
10. This Notice of Removal is filed with this Court within 30 days after

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| service of Plaintiff's Complaint. Therefore, this removal is timely as required by 28

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U.S.C. §1446(6) which specifically provides, "The notice of removal of a civil

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action of proceeding shall be filed within 30 days after the receipt by the defendant,

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through service or otherwise, of a copy of the initial pleading setting forth the claim

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for relief upon which such action or proceeding is based, or within 30 days after the

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|| service of summons upon the defendant if such initial pleading has then been filed in

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court and is not required to be served on the defendant, whichever period is shorter."

28 U.S.C.§ 1446 (b).
11. Pursuant to 28 U.S.C. §1446(a), true and correct copies of all process,

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pleadings, and orders sent to and received by Target in the State Court action are

attached hereto as Exhibit "H."
4836-1116-9688.1

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Case |2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 4of70 Page ID #:4

1]| DATED: June 7, 2019 MANNING & KASS
ELLROD, RAMIREZ, TRESTER LLP

bo

fad

By: /s/ Joshua Babataher
Eugene J. Egan
Joshua K. Babataher
Attorneys for Defendant

7 TARGET CORPORATION

 

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~ NOTICE OF REMOV Al OF ACTION UNDER 28 U.S.C. §144i(b) i (DIVERSITY); DECI L ARs ATION. OF
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DECLARATION OF JOSHUA BABATAHER

I, Joshua Babataher, declare as follows:

I, I am an attorney duly admitted to practice before this Court. Iam an
attorney with Manning & Kass, Ellrod, Ramirez, Trester LLP, attorneys of record
for Defendant, TARGET CORPORATION. I have personal knowledge of the facts
set forth herein, and if called as a witness, I could and would competently testify
thereto. I make this declaration in support of Defendant's Notice of Removal of
Action Under 28 U.S.C. §1441(b)1 (diversity).

2. On March 26, 2019, an action was commenced in the Superior Court of
the State of California in and for the County of Los Angeles, entitled JON
SHIFFMAN, Plaintiff vs. TARGET CORPORATION, YOHANA HANA, SARAH
LIFSCHUTZ and DOES | through 20, inclusive, Defendants, as Case Number
19STCV10275 (the "Action). A true and correct copy of the Complaint is attached

{hereto as Exhibit "A."

3, Target was first served a copy of the Complaint on May 9, 2019, when
counsel for Plaintiff caused to be served, by a process server, a copy of the
Complaint and summons on Target's Registered Agent, CT Corporation in
California. A true and correct copy of the transmittal of summons and service of
process transmittal is attached hereto as Exhibit "B." Target filed an Answer to
Plaintiff's Complaint on June 5, 2019. A true and correct copy of Target's Answer to
Plaintiff's Complaint is attached hereto as Exhibit "C."

4. Target is informed and believes that Plaintiff was, at the time he filed
the Action and still is, a citizen of the State of California.

5. Defendant Target first learned that the amount in controversy exceeded
$75,000.00 when it received Plaintiff's Statement of Damages, served with
Plaintiff's Complaint on May 9, 2019. In his Statement of Damages, Plaintiff alleges
$750,000.00 in general damages. A true and correct copy of Plaintiff's Statement of

Damages is attached hereto as Exhibit "D."
4836-11 16-9688 1 Case No,
_ NOTICE OF REMOVAL OF ACTION UN

 

  

 

   

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6. This removal is filed within thirty (30) days of service of Plaintiff's
Complaint.

7. This action is a civil action of which this Court has original jurisdiction
under 28 U.S.C. §1332, and is one which may be removed to this Court by
defendant pursuant to the provisions of 28 U.S.C. §1441(a) in that it is a civil action
between citizens of different states and the matter in controversy exceeds the sum of
$75,000, exclusive of interest and costs.

8. Target Corporation was, at the time of the filing of this action, and still
is, a citizen of the State of Minnesota, incorporated under the laws of the State of
Minnesota, with its principal place of business in the State of Minnesota. Both the
California Secretary of State and Minnesota Secretary of State identify Target
Corporation as a Minnesota Corporation with its principal address at 1000 Nicollet
Mall, Minneapolis, Minnesota 55403 on their respective websites. True and correct

copies of search results for Target Corporation on those websites are attached hereto

las Exhibit "E."

9. Target Corporation is the only properly named defendant in this action
for purposes of determining diversity jurisdiction. The general rule that, under 28
U.S.C. § 1446(a) all defendants in a state action must join in the petition for
removal, except for nominal, unknown or fraudulently joined parties, only applies to
defendants properly joined and served in the action. See Salveson v. Western States
Bankard Ass'n., 731 F. 2d 1423, 1429 (9 Cir. 1984) (noting "a party not served
need not be joined" in a petition for removal). To date, proofs of service have not
been filed as to any defendant, other than Target. A true and correct copy of the
proof of service as to Target is attached hereto as Exhibit "F." A true and correct
copy of the list of documents filed in this case, listed on the Los Angeles Superior

Court website, is attached hereto as Exhibit "G."

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NOTICE OF REMOV AL OF ACTION UNDER 28 U.S.C. Saai@yt (DINE ERST? PY) DECLARATION OF

 

 

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1 10. Target is the only properly named defendant in this action. The

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defendants designated as DOES | to 20 are fictitiously named and their citizenship

shall not be considered in determining diversity jurisdiction. 28 U.S.C. §1446(b).

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11. This Notice of Removal is filed with this Court within 30 days after

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service of Plaintiffs Complaint. Therefore, this removal is timely as required by 28
U.S.C. §1446(b) which specifically provides, "The notice of removal of a civil
action of proceeding shall be filed within 30 days after the receipt by the defendant,

through service or otherwise, of a copy of the initial pleading setting forth the claim

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for relief upon which such action or proceeding is based, or within 30 days after the
10 || service of summons upon the defendant if such initial pleading has then been filed in
{1 || court and is not required to be served on the defendant, whichever period is shorter."
12 1/28 ULS.C.§ 1446 (b).

13 12. Pursuant to 28 U.S.C. §1446(a), true and correct copies of all process,
14 || pleadings, and orders sent to and received by Target in the State Court action are

15 | attached hereto as Exhibit "H."

16 I declare under penalty of perjury under the laws of the United States of

17 || America that the foregoing is true and correct.

18 Executed on this 7th day of June, 2019, at Los Angeles, California.

20 ‘s/ Joshua Babataher
Joshua Babataher

4836-11 16-9688.1 Case No.

 

 

 

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Page 4 of 26

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16633 Ventura 1 Bloor. i eo ae
3 i Sloe Gin SOT SQ te ee oe
elephone: (618) 990-2120 Te tes
4 Teleconien 18) 981-4764 bab ag gee fe
5 || Attomeys for Plaintiff eee roe
6 Faia ttn | ” ve
7 SUPERIOR COURT OF THE STATE OF CALIFORNIA
8 FOR THE.COUNTY OF LOS ANGELES
9 se
10 || JON SHIFFMAN, '.) CASENO: 19STCV10275
g ou | eo Plaintitt, COMPLAINT FOR DAMAGES
5 0 een } | (PERSONAL INJURIES)
. vs. < a “ * . ‘:
ae ee (UNLIMITED JURISDICTION)
-§ 13 || TARGET CORPORATION, YOHANA”  *) :
& HANA, SARAH LIFSCHUTZ, and DOES, :
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18 lege WA Lk

19 COMES NOW PLAINTIFF JON SHIFFMAN AND ALLEGES AS FOLLOWS:

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22 1. The true names and capacities, whether individual, corporate, associate or

2 otherwise of Defendants named herein is'DOES | through 20, inclusive, are unknown to

24 || Plaintiff at this time who therefore sues said Defendants by such fictitious names. Plaintiff is
25 || informed and believes and thereor alleges thet each of the Defendants named herein as a DOE is
26 || negligently or in some other manner legally, liable and responsible for the events and happenings
27 || bereinbelow described and by their conduct did directly and proximately cause Plaintiff to suffer
28 and ssn the serious and permancnt damages and injuries sct forth below. Plaintiff will seek

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Page 5 of 26

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I leave to amend this pleading to reflect their true names and capacities when the sarhe are
2|| ascertained. a
3 2. Plaintiff is informed asid'believes and, thereon alleges that at all times herein
4 || mentioned, Defendants, TARGET CORPORATION and DOES 1 through 5, inchesive, and each
S|} oftthem, were and are corporations dilly orginiized snd existing under and by virtue of the laws
6 || of the State of California. At all times herein mentioned, said Defendants were carrying on
7 || business in the City of Los Angeles, County of Los Angeles, State of California,
8 3. _ Plaintiff is informed and believes-and thereon alleges that at all times herein
9 || mentioned, Defendants, and each of them, were the agents, servants and employees of each and

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every other Defendant herein end were acting at all times herein mentioned within the purpose,

g F course, scope and authority of said agency, service arid employment and with the consent,
12 || permission and knowledge of their coDefendants:

4, Plaintiff is informed: tid Believes and thereon alleges that at all times herein
mentioned, Plaintiff is informed andi believes ind theréon alleges that Defendant YOHANA

| HANA, and DOES 6 and 7, werd Ladess! it Dily at the time of all events that occurred herein.

Plaintiff is further informed and believes and thereon alleges that at all times herein mentioned’

Defendant SARAH LIFSCHUT, snd 6 S'8 andl 9, Were the Managers On Duty, at all times‘?

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18 relevant herein. oe . “eyteee t we F

19 5. Plaintiff is further iatormod and belicvés and thereon alleges that said Defendants,
20 at alltime herein mentioned, were and are rélidelite Gf the County of Los Angeles, State of

21 eo «Aye yg eed oe tae

2 6. Atal meshes mls nda TARGET CORPORATION, DOES |
23 1] through 20, Inclusive, and each of tian, plans desigbed, constructed, owned, operate,

24 maintained, entrusted, supervised sid Inpetaed'a a certain business establishment commonly

25 || known as “TARGET™ located at or neat 880 Weverty Boulevard, in the City of Los Angeles,

26 County of Los Angeles, State of California.” Bee

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Page 6 of 26

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7. Onor about April 6, 2017, Plaintiff JON SHIFFMAN was lawfully upon the
premises of said “TARGET” store:and wes theh and there a customer using the premises in a
normal fashion. SRE a ey

8. At all times hereis mentioned, the'Defendants, and each of them, eo negligently,
carelessly end recklessly planned,-designed;-constructed, owned, operated, maintained, entrusted,
supervised and inspected the subjectipremises of the “TARGET” store 0 as to directly and
proximately cause and allow a dangerous and hazardous condition to then and there be present.
Said condition inchided, but was not limited to, a used needle contniner that was affixed to the
wall of the restroom in said “TARGET” store. Said used needle contniner was designed to safely
house and dispose of sharp needles in # fashion that customers could not, and should not be
harmed, stuck or pricked by such disposed snd tsed ‘needles.

9. On April 6, 2017, said used needie disposal containcr was negligently, carelessly
and recklessly owned, operated, maintairied, supérvicell and inspected s0 ao to cause and allow
3 sharp needles to be protruding frit t top dpening thereof, thereby causing and presenting a
3 | serious hazard to unsuspecting ois Sac i is Plain. As 8 direct and proximate result

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thereof, this Plaintiff was stuck By a disposed and previously used needle and thereby suffered «r
S47 serious damages and injuries as hetGiabelow set fori. a
18 10. At suid time and place, Betindsnts, and each of them, acted so negligently,

19 | carelessly and recklessly and/or negiigentiy failed to act’ 20 a8 to directly and proximately cause

Plaintiff to suffer and sustain the serioiis atid permsnent injuries and damages alleged below.
21 I. By reason of the conduct of the Deferidarits, and each of them, and 2s a direct and
22 || proximate result thereof, Plaintiff vas hirt and Yajured in his health, strength and activity,
23 | sustaining injury to his body and shock and injilty to his nervous systern and person, all of which
24 || said injuries have caused and conti cottinie 10 dase Plitniff great mental, physical and nervous pain
25 || and suffering. Plaintiff is inforincd ed believed eid thefeon alleges that said injuries will result
26

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Page 7 of 26

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12. Asa further dircet and proximate result of the conduct of Defendants, and cach of
them, Plaintiff was required to arid did’amploy physicians to examine, treat and care for him and
said Plaintiff did incur medical and tcidemal-expense. The exact amount of such expense is
unknown at this time and Plaintiff will therefore’ seek feave to amend this Complaint to set forth
the exact amount thereof when itis aseériainéd: ~

13. Asa further direct aiid proxiniate résutt of the conduct of Defendants, and each of
them, Plaintiff was prevented from attending to his usual occupation and Plaintiff is informed
and believes and thereon alleges that he will thereby be prevented from attending to said usual
occupation for a period in the future all to his further damage in an amount which will be set
forth according to proof when the same is ascertained.

WHEREFORE, Plaintiff prays against Defendant as follows:
I. For general damages i in an amount which will be set forth pursuant to California
Code of Civil Procedure, Section 425.11; oT
2. For medical and incidental ex expenses according to proof:
3. For loss of camiligs and catniig capacity according to proof;
4 For costs of suit incurred heréin: and
5. For such other and further relief as this court deems just and proper, including but

not limited to prejudgment interest as allowed by law.

DATED: March 25, 2019 LEWITT, HACKMAN, SHAPIRO,

   

. ANDREW L. SHAPIRO
’, . , -Attomeys for Plaintiff

 

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COMPLAINT FOR DAMAGES

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Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 13 o0f 70 Page ID #:13

EXHIBIT B
Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 14 of 70 Page ID #:14
Page 2 of 26

 

CT Corporation Service of Process
Transmittal
05/09/2019
CT Log Number 535455385
To Sue Carlson
jamet Ci ation
1000 Nicollet Mall
Minneapolis, MN 55403-2542

RE: Process Served in California
FOR: Tanjet Corporation (Domestic State: MN)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOws:

TITLE OF ACTION: JON SHIFTMAN, PLTF. vs. TARGET CORPORATION, ET AL., DFTS.
DOCUMENT(S) SERVED:
“owen Case # 19STCV10275
NATURE OF ACTION: Personal Injury - Failure to Maintain Premises in a Safe Condition - .
ON WHOM PROCESS WAS SERVED: C T Corporation System, Los Angeles, CA
DATE AND HOUR OF SERVICE: By Process Server on 05/09/2019 at 11:29
JURISDICTION SERVED : California
APPEARANCE OR ANSWER DUE: Within 30 days.after this summons and legal papers are served on you
ATTORNEY(S) / SENDERIS):
ACTION ITEMS: CT has retained the current tog, Retain Date: 05/14/2019, Expected Purge Date:
08/19/2019
image SOP

Email Notification, Non Employee Litigation Target gl.legai@target.com

SIGNED: € T Corporation System
ADDRESS: 818 West Seventh Street
Los Angeles, CA 90017

TELEPHONE: 213-337-4615
Page t of 1/78
information displayed on this transmitral ts for CT
Corporation’s record keeping purposes only and fs provided te
the recipient for quick reference. This Information does not
constitute a Legal opinion as to the nature of action, the
amount of damages, the answer date, or any Information
contained in the documents themselves, Recipient is
responsible for interpreting sald documents and for taking
appropriate action. Signatiires on certified mail receipts
confinn receipt of package oily, nat contents.

S-14.2019 O28 0S TNGOOO) 602019051 5013283

 

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Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 15 of 70 Page ID #:15

EXHIBIT C
Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 16 of 70 Page ID #:16

Electronically FILED i Superior Court of California, County of Los Angeles on 00/08/2019 08:27 PM Sheri R. Carter, Executive Offiosr/Clerk of Court, by M. Pryor Daputy Qlerk

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Eugene J. Egan (State Bar No. 130108)
eje@manningllp.com
Joshua K. Babataher (State Bar No. 311367)
Jkb@manninglip.com
MANNING & KASS
ELLROD, RAMIREZ, TRESTER LLP
801 S. Figueroa St, 15“ Floor
Los Angeles, California 90017-3012
Telephone: (213) 624-6900
Facsimile: (213) 624-6999
Attorneys for Defendant, TARGET
CORPORATION
SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES, SPRING STREET COURTHOUSE
JON SHIFFMAN . Case No. 19STCV10275
{ Assigned to the Hon. Mare D. Gross,
Plaintiff, Department 3)
VS.
ANSWER TO COMPLAINT; DEMAND
TARGET CORPORATION, YOHANA | FOR JURY TRIAL
HANA, SARAH LIFSCHUTZ, and DOES |
through 20, Inclusive
Defendant(s). Complaint Filed: 3/26/19
Trial Date: 9/22/2020
Pursuant to Sections 431.10, et seg., of the California Code of Civil Procedure, defendant
TARGET CORPORATION ("defendant"), answers the Complaint of plaintiff JON SHIFFMAN
(“plaintiff) as follows.
GENERAL DENIAL
I. Defendant denies generally and specifically each and every allegation in the
Complaint, pursuant to Code of Civil Procedure §431.30, and further denies that plaintill was
injured, or that plaintiff sustained, or will sustain damages in the sums alleged in the Complaint, or
in any sum, or at all.
FIRST AFFIRMATIVE DEFENSE
2. The Complaint and each and every purported cause of action therein fails to state
facts sufficient to constitute a cause of action against this answering defendant. This affirmative
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ANSWER TO COMPLAINT, DEMAND FOR JURY TRIAL

 

 
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Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 17 of 70 Page ID #:17

defense is interposed to the Complaint in its entirety and separately as to each individual cause of

 

2 |) action therein although not restated under separate headings as to each cause of action.
3 SECOND AFFIRMATIVE DEFENSE
4 3. This answering defendant is informed and believes and thereupon alleges that

5 | plaintiff failed to exercise reasonable and ordinary care, caution or prudence for his own safety, in
6 | order to avoid the alleged accident. The resulting injuries and damages, if any, sustained by

7 | plaintiff were proximately caused and contributed to by the negligence of plainuff himself. This

& | affirmative defense is interposed to the Complaint in its entirety and separately as to each

9 | individual cause of action therein although not restated under separate headings as to each cause of

LO |) action.

 

1 THIRD AFFIRMATIVE DEFENSE
| 12 4, Defendant alleges that plaintiff's recovery is reduced or diminished by plaintiff's

13 || failure to mitigate his damages. This affirmative defense is interposed to the Complaint in its

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14 ll entirety and separately as to each individual cause of action therein although not restated under

 

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we 15 || separate headings as to each cause of action.

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S| 16 FOURTH AFFIRMATIVE DEFENSE

eo 17 5. If plaintiff sustained any damage as alleged in the Complaint, that damage was

18 || proximately caused and contributed to by other parties to this action, whether served or not served,

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or by other persons or entities not parties to this action, The proportionate degree of negligence or
20 || fault of each of said other persons or entities must be determined and prorated and any judgment

21 || that might be rendered against defendant herein must be reduced not only by that degree of

22 | comparative negligence and fault found to exist as to plaintiff, but also as to the total of that

23 || degree of negligence or fault found to exist as to said other persons or entities. This affirmative
24 || defense is interposed to the Complaint in its entirety and separately as to cach individual cause of

25 ll action therein although not restated under separate headings as to each cause of action.

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FIFTH AFFIRMATIVE DEFENSE
o. lf any damage was sustained as alleged in the Complaint, that damage was a result

of plaintiff's assumption of risk of harm. Plaintiff had actual knowledge of the particular risk or
danger, knew and understood the degree of the risk or danger involved and voluntarily assumed
ffs reasonable implied assumption of a risk of harms bars recovery herein. This
affirmative defense is interposed to the Complaint in its entirety and separately as to each
individual cause of action therein although not restated under separate headings as to each cause of
action.

SIXTH AFFIRMATIVE DEFENSE

7 This answering defendant denies that a dangerous condition existed. However, if it

is determined that a dangerous condition in fact did exist, such condition was open and obvious.

This affirmative defense is interposed to the Complaint in its entirety and separately as to each

individual cause of action therein although not restated under separate headings as to each cause of
action,
SEVENTH AFFIRMATIVE DEFENSE
5. This answering defendant denies that a dangerous condition existed. However, if it
is determined that a dangerous condition in fact did exist, such condition was trivial. This
affirmative defense is interposed to the Complaint in its entirety and separately as to each
individual cause of action therein although not restated under separate headings as to each cause of
action.
EIGHTH AFFIRMATIVE DEFENSE
Q. Defendant alleges that other persons, either known and/or unknown to th
answering defendant, are in whole or in part lable to plainuff and/or proximately or legally caused
plaintiff's alleged injuries. Pursuant to Civil Code Section 143 1.2, plaintiff must look to these
other persons for recompense for plaintiff's alleged damages. This affirmative defense is
interposed to the Complaint in its entirety and separately as to each individual cause of action

therein although not restated under separate headings as to each cause of action.

    

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NINTH AFFIRMATIVE DEFENSE

1G. Defendant alleges that plaintiff engaged in conduct and activities with respect to the
subject of this Complaint, by reason of said activiuies and conduct, plaintiff is estopped from
asserting any claims for damages or seeking any other relief against this answering defendant.
This affirmative defense is interposed to the Complaint in its entirety and separately as to each
individual cause of action therein although not restated under separate headings as to each cause of
action.

TENTH AFFIRMATIVE DEFENSE

VL. Defendant alleges that plaintiff engaged in conduct and activities sufficient to
constitute a waiver of any alleged breach of duty, negligence, act, omission, or any other conduct,
if any, as set forth in the Complaint. This affirmative defense is interposed to the Complaint in its
entirety and separately as to each individual cause of action therein although not restated under
separate headings as to each cause of action.

ELEVENTH AFFIRMATIVE DEFENSE

i2, Defendant alleges that the injuries and damages of which plaintiff complains were
proximately caused by or contributed to by the acts of other defendants, cross-detendants, persons
and/or other entities, and that said acts were an intervening and superseding cause of the injuries
and damages, if any, of which the plaintiff complains, thus barring plaintiff from any recovery
against this answering defendant. This affirmative defense ts interposed to the Complaint in its
entirety and separately as to each individual cause of action therein although not restated under
separate headings as to each cause of action.

TWELFTH AFFIRMATIVE DEFENSE

13. That the Complaint was brought without reasonable cause and without a good faith
belief that there was a justifiable controversy under the facts of the law which warranted the filing
of the Complaint against this responding defendant. Plaintiff should therefore be responsible for
all defendant’s necessary and reasonable defense costs, as more particularly set forth in California
Code of Civil Procedure Section 1038. This affirmative defense is interposed to the Complaint m

its entirety and separately as to each individual cause of action therein although not restated under

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Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 20 of 70 Page ID #:20

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separate headings as to cach cause of action.
THIRTEENTH AFFIRMATIVE DEFENSE
14. Plaintiff's Complaint and each and every cause of action therein contained are barred
by any and all applicable statutes of limitations, inciuding, but not limited to Code of Civil
Procedure Sections 335.1 and 342. This affirmative defense is interposed to the Complaint in is
entirety and separately as to each individual cause of action therein although not restated under
separate headings as to each cause of action.
FOURTEENTH AFFIRMATIVE DEFENSE
15. Plaintiff's Complaint and each and every cause of action therein contained are
barred by the doctrine of laches. This affirmative defense is interposed to the Complaint in its
entirety and separately as to each individual cause of action therein although not restated under
separate headings as to each cause of action.
FIFTEENTH AFFIRMATIVE DEFENSE
16. This answering defendant denies that a dangerous condition existed. However, if it
is determined that a dangerous condition in fact did exist, such condition did not exist fora
sufficiently reasonable amount of time as to give actual or constructive notice of the condition.
This affirmative defense is interposed to the Complaint in its entirety and separately as to each

individual cause of action therein although not restated under separate headings as to each cause of

SIXTEENTH AFFIRMATIVE DEFENSE
17. This defendant presently has insufficient knowledge or information on which fo
form a belief as to whether it may have additional, as yet unstated affirmative defenses available.
Defendant herein reserves the right to assert additional defenses in the event that the discovery
indicates that they would be appropriate. This affirmative defense is interposed to the Complaint
in its entirety and separately as to each individual cause of action therein although not restated

under separate headings as to each cause of action.

     

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Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 21 o0f 70 Page ID #:21

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WHEREFORE, defendant TARGET CORPORATION prays as follows:

I. For dismissal of the Complaint with prejudice;

2. For judgment in favor of this answering defendant and against plaintiff;
3. For costs of suit;

4. For such further relief as the court may deem just and proper.

DATED: June 5, 2019

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MANNING & KASS
ELLROD, RAMIREZ, TRESTER LLP

 
   

By: fr —
Eugene J. Egan
Joshua K,. Babataher

Attorneys for Defendant
TARGET CORPORATION

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Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 22 of 70 Page ID #:22

DEMAND FOR JURY TRIAL
Defendant hereby demands trial by jury.

DATED: June 5, 2019 MANNING & KASS
4 ELLROD, RAMIREZ, TRESTER LLP

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Sugene J. Egan
Joshua K. Babataher

8 Attorneys for Defendant
TARGET CORPORATION

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

At the time of service, | was over 18 years of age and not a party to this action. | am
employed in the County of Los Angeles, State of California, My business address is 801 S.
Figueroa St, [Sth Floor, Los Angeles, CA 90017-3012.

On June 5, 2019, 1 served true copies of the following document(s) described as
ANSWER TO COMPLAINT; DEMAND FOR JURY TRIAL on the interested parties in this
action as follows:

Andrew L. Shapiro, Esq.

Lewitt, Hackman, Shapiro, Marshall & Harlan
16633 Ventura BI.,1 1th Floor

Encino, CA 91436

P: 878.990.2120

F: 818.981.4764

Email: ashaptro@@lewitthackman.com
Attorney for Plaintiff

Jon Shiffman

BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
persons at the addresses listed in the Service List and placed the envelope for collection and
mailing, following our ordinary business practices. | am readily familiar with the practice of
Manning & Kass, Ellrod, Ramirez, Trester LLP for collecting and processing correspondence for
mailing. On the same day that correspondence is placed for collection and mailing, it is deposited
in the ordinary course of business with the United States Postal Service, in a sealed envelope with
postage fully prepaid. | am a resident or employed in the county where the mailing occurred. The
envelope was placed in the mail at Los Angeles, California.

I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

Executed on June 5, 2019, at Los Angeles, California.

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EXHIBIT D

 

 

 

 

 

 
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Page 25 of 26
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ANDREW L. SHAPIRO, ESQ., SBN 051546 .
LEWITT, HACKMAN, SHASIRG.
16633 V 1 & HARLAN 1 Floor ogc 7
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Encino, California 91436-1865 - ae Ske Wang
Telephone: Bd Bare aera
Telecopier: (818) 981-4764 TOT pra
Att for Pl » tit * ef .' “
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY. OF LOS ANGELES
JON SHIFFMAN, »" CASE NO:
nt et )
Ris Plait ff, ) PLAINTIFF’S STATEMENT OF
fe DAMAGES (CCP §425.11)
vs. +A :
TARGET CORPORATION, YORANA”’ ode :
HANA, SARAH LIFSCHUIZ, and DOES a
1 through 20, Inclusive, 3.
Defendants. . t
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TO THE DEFENDANTS AND THEIR ATTORNEY OF RECORD:
COMES NOW PLAINTIFF, ‘JON SHIFEMAN, and hereby submits his Statement of

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Damages, pursuant to Cade of Civil Procedure $125. 14 It should be noted that discovery and
damages tr continuing aod pli etives i ight o amend, modify or supplement thi

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information if, as or when farther or tit information becomes available.
1. General damages in the amount df $750,000.00.

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2 Medical and incidental expenses socording to proof.
3. Loss of Eamings and eaming capacity according to proof
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Costs of suit incurred herein, -

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PLAINTIEPS SPATEMENT OF DAMAGES

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Page 26 of 26

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PLAINTIFF'S STATEMENT OF DAMAGES

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EXHIBIT E
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Alex Padilla
California Secretary of State

 

 

. Business Search - Entity Detail

The California Business Search is updated daily and reflects work processed through Wednesday, June 5, 2019.
Please refer to document Processing Times for the received dates of filings currently being processed. The data
provided is not a complete or certified record of an entity. Not all images are available online.

C0536463 TARGET CORPORATION

Registration Date: 11/24/1967

Jurisdiction: MINNESOTA

Entity Type: FOREIGN STOCK

Status: ACTIVE

Agent for Service of Process: C T CORPORATION SYSTEM (C0168406)

 

To find the most current California registered
Corporate Agent for Service of Process address and
authorized employee(s) information, click the link
above and then select the most current 1505

Certificate.

Entity Address: 4000 NICOLLET MALL
MINNEAPOLIS MN 55403

Entity Mailing Address: 1000 NICOLLET MALL, TPS 3155

MINNEAPOLIS MN 55403

A Statement of information is due EVERY year beginning five months before and through the end of November.

Document Type Jf FileDate JF PDF

SI-NO CHANGE 10/31/2018
PUBLICLY TRADED DISCLOSURE 06/28/2018
SI-COMPLETE 10/24/2017
PUBLICLY TRADED DISCLOSURE 06/23/2017
PUBLICLY TRADED DISCLOSURE 06/21/2016
PUBLICLY TRADED DISCLOSURE 06/25/2015
PUBLICLY TRADED DISCLOSURE 07/18/2014

 

     

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| PUBLICLY TRADED DISCLOSURE 06/27/2013
PUBLICLY TRADED DISCLOSURE 06/20/2012
PUBLICLY TRADED DISCLOSURE 05/31/2011
| PUBLICLY TRADED DISCLOSURE 06/01/2010
PUBLICLY TRADED DISCLOSURE 06/09/2009
_ PUBLICLY TRADED DISCLOSURE 06/19/2008
PUBLICLY TRADED DISCLOSURE 06/22/2007
PUBLICLY TRADED DISCLOSURE 06/07/2006
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PUBLICLY TRADED DISCLOSURE 12/05/2003 image unavailable. Please request paper copy.
PUBLICLY TRADED DISCLOSURE 41/25/2003 Image unavailable. Please request paper copy.
AMENDED REGISTRATION 02/11/2000
AMENDED REGISTRATION 07/23/1985
AMENDED REGISTRATION 07/22/1969 image unavailable. Please request paper copy.

REGISTRATION 11/24/1967 image unavailable. Please request paper copy.

* indicates the information is not contained in the California Secretary of State's database.

« [ifthe status of the corporation is “Surrender,” the agent for service of process is automatically revoked.
Please refer to California Corporations Code section 2114 for information relating to service upon
corporations that have surrendered.

* For information on checking or reserving a name, refer to Name Availability.

+ If the image is not available online, for information on ordering a copy refer to Information Requests.

+ For information on ordering certificates, status reports, certified copies of documents and copies of
documents not currently available in the Business Search or to request a more extensive search for records,

refer to information Requests.
« For help with searching an entity name, refer to Search Tips.

 

   
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* For descriptions of the various fields and status types, refer to Frequently Asked Questions.

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Business Record Details »

 

Minnesota Business Name

Target Corporation
Business Type MN Statute
Business Corporation (Domestic) 302A
File Number Home Jurisdiction
11-AA Minnesota
Filing Date Status
02/11/1902 Active / In Good Standing
Renewal Due Date Registered Office Address
12/31/2019 1010 Dale St N
St Paul, MN 55117-5603
USA
Number of Shares Registered Agent(s)
6,005,000,000 C T Corporation System
Chief Executive Officer Principal Executive Office Address
BRIAN C CORNELL 41000 Nicollet Mall
1000 Nicollet Mall Mpls, MN 55403
Mpls, MN 55403 USA
USA
Filme History
Filing History

Select the item(s} you would like to order: Order Selected Copies

Ll Filing Date Filing Effective Date

cm 02/11/1902 Original Filing - Business Corporation
(Domestic)

 

 
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m Filing Date Filing Effective Date
02/11/1902 Business Corporation (Domestic) Business

Name
(Business Name: Goodfellow Dry Goods Co.)

i 05/25/1903 Business Corporation (Domestic) Business
Name
(Business Name: Dayton Dry Goods Co.)

‘a 05/17/1941 Business Corporation (Domestic) Business
Name
(Business Name: The Dayton Company)

| 08/04/1915 Business Corporation (Domestic) Change of
Shares

‘i: 02/04/1919 Business Corporation (Domestic) Change of
Shares

- 41/29/1922 Business Corporation (Domestic) Change of
Shares

ry 07/25/1928 Business Corporation (Domestic) Change of
Shares

7 08/12/1931 Business Corporation (Domestic) Duration

- 02/16/1939 Amendment - Business Corporation (Domestic)

i 07/25/1939 Amendment - Business Corporation (Domestic)

mm 03/18/1949 Business Corporation (Domestic) Duration

i” 12/30/1950 Consent to Use of Name - Business Corporation
(Domestic)

- 07/28/1955 Business Corporation (Domestic) Change of
Shares

my 12/31/1958 Merger - Business Corporation (Domestic)

12/31/1958 Business Corporation (Domestic) Change of

Shares

cy] 02/02/1959 Merger - Business Corporation (Domestic)

ro ] 04/30/1963 Amendment - Business Corporation (Domestic)

 

 

 

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- 09/02/1964 Business Corporation (Domestic) Change of
Shares

 

rm 03/02/1966 Business Corporation (Domestic) Change of

a
Shares

cm 12/06/1966 Amendment - Business Corporation (Domestic)

‘a 01/27/1967 Business Corporation (Domestic) Change of
Shares

im 05/29/1967 Consent to Use of Name - Business Corporation

(Domestic)

ry 07/28/1967 Business Corporation (Domestic) Change of

Shares
‘- 09/06/1967 Business Corporation (Domestic) Business
Name
(Business Name: Dayton Corporation)
09/06/1967 Registered Office and/or Agent - Business
Corporation (Domestic)
i 11/24/1967 Merger - Business Corporation (Domestic)
‘a 12/08/1967 Business Corporation (Domestic) Change of
Shares
‘a 05/07/1968 Merger - Business Corporation (Domestic)
- 02/13/1969 Business Corporation (Domestic) Change of

Shares

mr 03/18/1969 Business Corporation (Domestic) Change of
Shares

7 05/22/1969 Arnendment - Business Corporation (Domestic)
ry 06/20/1969 Business Corporation (Domestic) Business

Name
(Business Name: Dayton-Hudson Corporation)

a

07/23/1970 Amendment - Business Corporation (Domestic)

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a 06/16/1972 Registered Office and/or Agent - Business
Corporation (Domestic)

a 01/04/1974 Merger - Business Corporation (Domestic)

my 04/25/1975 Merger - Business Corporation (Domestic)

- 04/25/1975 Merger - Business Corporation (Domestic)

my 01/27/1976 Merger - Business Corporation (Domestic)

= 04/27/1976 Merger - Business Corporation (Domestic)

- 02/01/1977 Merger - Business Corporation (Domestic)

a 05/24/1978 Business Corporation (Domestic) Change of
Shares

cm 06/24/1982 Business Corporation (Domestic) Active Status
Report

a 11/22/1982 Merger - Business Corporation (Domestic)

Tj 05/26/1983 Business Corporation (Domestic) Change of
Shares

ry 04/19/1984 Consent to Use of Name - Business Corporation
(Domestic)

my 05/31/1985 Business Corporation (Domestic) Restated
Articles

05/31/1985 Business Corporation (Domestic) Business

Name
(Business Name: Dayton Hudson Corporation)

a 01/15/1986 Merger - Business Corporation (Domestic)

mi 05/30/1986 Business Corporation (Domestic) Change of
Shares

my 09/23/1986 Amendment - Business Corporation (Domestic)

Tj 06/03/1987 Amendment - Business Corporation (Domestic)

co 05/25/1988 Amendment - Business Corporation (Domestic)

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a Filing Date Filing Effective Date

a 01/11/1990 ~—_ Business Corporation (Domestic) Other

7 06/21/1996 — Business Corporation (Domestic) Change of
Shares

7 09/12/1996 Business Corporation (Domestic) Other

‘a 09/18/1997 Merger - Business Corporation (Domestic)

- 01/28/1998 Merger - Business Corporation (Domestic)

a 04/10/1998 Business Corporation (Domestic) Change of
Shares

T 09/11/1998 Business Corporation (Domestic) Other

- 01/13/2000 Business Corporation (Domestic) Business
Name
(Business Name: Target Corporation)

01/13/2000 Merger - Business Corporation (Domestic)
ma 01/28/2000 Merger - Business Corporation (Domestic)
rm 01/28/2000 Merger - Business Corporation (Domestic)
4 01/28/2000 Consent to Use of Name - Business Corporation

(Domestic)

i 06/16/2000 Business Corporation (Domestic) Change of
Shares

i 41/17/2000 Merger - Business Corporation (Domestic)

i 09/18/2001 Business Corporation (Domestic) Other

= 02/21/2002 Business Corporation (Domestic) Restated
Articles

02/21/2002 Registered Office and/or Agent - Business

Corporation (Domestic)

rm 42/23/2002 Merger - Business Corporation (Domestic)

- 01/31/2003 Merger - Business Corporation (Domestic)

 

 

 

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a 04/20/2005 Merger - Business Corporation (Domestic)

re 06/14/2005 Merger - Business Corporation (Domestic)

cy 08/31/2005 Merger - Business Corporation (Domestic)

‘- 10/27/2005 Business Corporation (Domestic) Other

a 40/28/2005 Merger - Business Corporation (Domestic)

cy 10/28/2005 Merger - Business Corporation (Domestic)

a 41/09/2005 Merger - Business Corporation (Domestic)

a 11/22/2005 Merger - Business Corporation (Domestic)

ry 07/13/2006 Merger - Business Corporation (Domestic)

7 05/24/2007 Amendment - Business Corporation (Domestic)

my 05/24/2007 Business Corporation (Domestic) Other

a 06/17/2008 Merger - Business Corporation (Domestic)

cq 01/27/2009 Merger - Business Corporation (Domestic)

my 06/10/2010 Business Corporation (Domestic) Restated
Articles

my 11/22/2010 Merger - Business Corporation (Domestic)

i 4/30/2015 Merger Survivor - Business Corporation 5/1/2015 12:01 AM
(Domestic)

c 10/12/2015 Merger Survivor - Business Corporation 10/16/2015 12:01 AM
(Domestic)

my 1/27/2016 Merger Survivor - Business Corporation 1/30/2016 11:59 PM
(Domestic)

- 1/28/2016 Merger Survivor - Business Corporation 1/30/2016 11:59 PM
(Domestic)

a 4/18/2016 Registered Office and/or Agent - Business

Corporation (Domestic)

 

 
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oy Filing Date Filing Effective Date

= 9/16/2016 Registered Office and/or Agent - Business
Corporation (Domestic)

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Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 38 of 70 Page ID #:38

EXHIBIT F
on COASO-21.9-6V-04986-MWF-GIS _Document-1—Fiied-06/07/19--Page-39-0f 70. Page ID #:39

Electronically FILED by Superior Court of California, County of Los Angeles on 05/21/2019 12:43 PM Sheri R. Carter, Executive Officer/Cierk of Court, by E. Gregg, Deputy Clark

POS-010

 

ATTORNEY OR PARTY WITHOUT ATTORNEY (Nam, Sieie Bar number, and address) FOR COURT USE ONLY

_. Andrew L. Shapiro, Esq. { SBN: 051546
Lewitt, Hackman, Shapiro, Marshall & Harlan
18633 Ventura Bivd, 11th Floor 11th Floor Encino, CA 21436

TELEPHONE NO: 1810! 9900-21907 FAX NO. (618) 1 a7ad [EMAIL ADDRESS (Opdonal: ap@lewitttackman.com
ATTORNEY FOR (Wamey: Piaintit’ Jon Shitfman

 

 

 

LOS ANGELES COUNTY SUPERIOR COURT
STREET ADDRESS: 111 NORTH HILL ST.
MAILING ADDRESS:
Cry AND zip cope: LOS ANGELES, CA 90012
BRANCH NAME: CENTRAL DISTRICT

PLAINTIFF: Jon Shiffman
DEFENDANT: Target Corporation,et ai

 

QASE NUMBER: 19STCV10275 Dept: 3

 

Rot, No, or File No:
PROOF OF SERVICE OF SUMMONS “ 18031-2

 

 

 

4
}
, (Separate proof of service is required for each party served.)
.% : .
1, At the time of service | was at least 18 years of age and not a party to this action.
2. | served copies of:

a. wy Summons
b. Complaint
S Alternative Dispute Resolution (ADR) package
d.C] civil Case Cover Sheet (served in complex cases only)
2 Crass-complaint
f. other (specify documents): Notice of Case Assignment,Standing Order,First Amended Standing Order-FSC;Statement of
ages
3. a. Party served (specify name of party as shown on documents served):
Target Corporation

b. iW Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):

Carlos Paz - Authorized to Accept Service

4. Address where the party was served: 818 W 7th St Ste 930
Los Angeles, CA 90017-3476

§. | served the party (check proper box)
by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to
receive service of process for the party (1) on (date): 5/9/2019 (2) at (time): 1:05 PM

b. by substituted service. On (dafe}): at (fime): | left the documents listed in item 2 with or
in the presence of (name and fitle or relationship to person indicated in item 3):

(1) LJ (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
person to be served. | informed him of her of the generai nature of the papers.

® LI (home) a competent member of the household (atleast 18 years of age) at the dwelling house or usuai place of
abode of the party. | informed him or her of the general nature of the papers.

&) CI (physical address unknown) a person at least 18 years of age apparently in charge al the usual mailing
address of the person fo be served, other than 4 United States Postal Service post office box. | informed him of

her of the general nature of the papers.

(4) C_] | thereafter maited (by first-class, postage prepaid) copies of the documents to the person to be served ai the
place where the copies were left (Cade Civ. Proc., §415.20). | mailed the documents on
(date): from (city): or | a declaration of railing is attached.

(5) CI) | attach a declaration of diligence stating actions taken first to attempt personal service.

 

Pega i of f
de of Chil Procedure, § 417.
dase Counal of Caltoria _ PROOF OF SERVICE OF SUMMONS oe osotasewzon?3

POS-010 [Mev. January 1, 2007)

 

 
 

i Case 2:19-cv-04986-MWE-GJS~-Document-1-Fited-G€

 

PETITIONER: Jon Shifiman

RESPONDENT: Target Conperation,et al

 

CASE NUMBER:
19STCV10276

 

 

 

c co by mail and acknowledgment of receipt of service. | mailed the documents
shown in item 4, by first-class mall, postage prepaid,

(1 on (date) (2) frown (city):

listed in itern 2 to the party, to the address

a) with two copies of the Notice and Acknowledgment of Receipland a postage-paid return envelope addressed to me.
(Attach completed Notice and Acknowledgement of Receipt) (Code Civ. Proc., § 418.20)

a] io an address outside California with return receipt requested. (Code Civ, Proc. § 444.403

é ci by other means (specify moans of service and aulhorzing cade section}:

LC] Additional page describing service is attached.
5. The “Notice to the Person Served" fon the summons) wae completed as follows:

aL) ab an individual defendant.

ol] #6 the person sued under the fictitious name of (specify):
&. as occupant.

GLY! On behalf of (specify): Target Corporation

| under the following Code of Civil Procedure section:

ro 418.10 (corporation)

ry 446.20 (defunct corporation)

i 416.30 Goint stack company/association)
(_] 416.40 (association or partnership)

[_] 418.50 (public entity)

476.60 (minor)

OOOO

other:

7. Person who served papers

. Name: Siron Korken - Cai West Attorney Services, Inc

. Address: 1201 W. Temple Street Los Angeles, CA 90026
. Télephone number. (2173) 353-9100

. The feedor service was: $61.06

| any

® OO & &

@)

wy H nol a registered California process server.
(3)

ragistered California process server. .
@ LJ owner rs employee [% independent contractor.

(i) Registration No.. 2018258243
ai) County: Los Angeles

8. (vf i declare under penalty of perjury under the laws of the State of Calfornia that the
or

415.95 (busineas organization, form unknown)
416.70 (ward or conservatee!

416.90 (authorized person)
415.46 (occupant)

exempt from registration under Business and Professions Code section 22350(b).

foregoing is frue and correct.

9, LJ ham a California sheriff or marshal and! certify that the foregoing is true and correct.

Date: 5/9/2019

Cal West Attorney Services, inc
1201 W. Ternple Street

Los Angeles, CA 90026

(273) 353-9100

www. .calwest.info

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(ENGNATURE)

 

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Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 41 o0f 70 Page ID #:41

EXHIBIT G

 
LGase 2 F5€c)S68986-MWF-GJS Document1 Filed 06/07/19 Page 42 of 70 Pag@ abet 47 3

CASE INFORMATION

Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed |
Proceedings Held

 

Cease Number. 79STCV1G275
JOHN SHIFFMAN VS TARGET CORPORATION, ET AL.

Fling Courthouse: Spring Street Courthouse

Filing Date: 03/26/2019
Case Type: Other Personal injury/Property Damage/Wrongful Death (General Jurisdiction)
Status: Pending ,

Click here to access document images for this case
if this link fails, you may go ta the Case Document images site and search using the case number displayed on
this page

FUTURE HEARINGS

Case information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed i
Proceedings Held

 

08/08/2020 at 10:00 AM in Department 3 at 312 North Spring Street, Los Angeles, CA 90012
Final Status Conference

09/22/2020 at 06:30 AM in Department 3 at 312 North Spring Street, Los Angeles, CA 90012
Non-Jury Trial

03/22/2022 at 08:30 AM in Department 3 al 312 North Spring Street, Los Angeles, CA 90012
Order to Show Cause Re: Dismissal

PARTY INFORMATION
Case information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed i
Proceedings Held

“GAN EUGENE J. - Atlorney for Defendant

Ty

r

HANA YOHANA - Defendant

WIPSCHUTZ SARAH - Defendant

SHAPIRO ANDREW L. - Attorney for Plaintiff
GHIPFMAN JOHN - Plaintif

TARGET CORPORATION - Defendant

DOCUMENTS FILED
Case information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Cocuments Filed |
Proceedings Hel

Documents Filed (Filing dates listed in descending order)

   
LGaSeo 2F5&c)64986-MWF-GJS Document 1 Filed 06/07/19 Page 43 of 70 Pag@aibeH248 3

06/06/2019 Answer
Filed by TARGET CORPORATION (Defendant

66/05/2019 Answer
Filed by TARGET CORPORATION (Defendant

05/21/2078 Proof of Parsonal Service
Fied by JOHN SHIFFMAN (Plainnit

04/06/2019 Cerificate of Malling for (PIG al Order] and Standing Order re Pi Procedures and Hearing
Dates)
Filed by Clerk
O4/G8/20719 Fi General Order
Filed by Clerk
03/28/2079 Notice of Case Assianment - Unlimited Civil Case
Filed by Clerk
SNZEI2019 Sursmons (on Complaint)
Filed by JOHN SHIFFMAN (Plaintiff
03/28/2019 Civil Case Cover Sheet
Filed by JOHN SHIFFMAN (Plaintiff

ON26/2079 Complaint
Filed by JOHN SHIFFMAN (Plaintiff)

PROCEEDINGS HELD

Case infermation | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed |
Proceedings Held

 

Proceedings Held (Proceeding dates listed in descending order)
None

REGISTER OF ACTIONS

Case information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed |
Proceedings Held

 

Register of Actions (Listed in descending order)

06/05/2019 Answer
Fried by TARGET CORPORATION (Defendant
ern /204 2 Answer

cd by TARGET CORPORATION (Defendant
O82 20719 Proof of Personal Service
Filed by JOHN SHIFFMAN (Plaintiff)

04/08/2079 Fl General Order
Filed by Clerk

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help Aves ober LEE Ly e ELPR ea EL LSS LI GEL YE PRP bag Sat by bat MATAR OSS Wo OhOe Ts

 
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64/08/2079 Certificate of Malling for (P1 General Order] and Standing Order re Pi Procedures and Hearing
Dates)
Filed by Clark

O3/26/2015 Complaint

Filed by JOHN SHIFFMAN (Piginii}
ON26/2018 Chil Case Cover Sheet
Filed by JOHN SHIFFIMAN (Pigini)
03/26/2019 Surnmons ton Complaint)

Filed gy KOHN SHIFFMAN (Plains)

03/26/2019 Notice of Case Assignment - Unlimited Civi Case

Filed by Clerk

 

 

 

 
Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 45 of 70 Page ID #:45

EXHIBIT H
Case 2:19-cv-04986-MWF-GJS Document 1 Filed 06/07/19 Page 46 of 70 Page ID #:46
Page 3 of 26

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were * “ . POLO PARA RC DELA CONTE
NOTICE TO DEFENDANT: TARGET CORPORATION, YOHANA HANA,
(AVISO AL DEMANDADO): SARAH LIFSCHUTZ, and DOES Lditough 20; .

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on am ans Ou PR ATI 08 ste fot
(LO ESTA DEMANDANDO EL. DEMANDANTE): ewe

 

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(coer Coun of Caltioraia, Coun oftos Angles 7 et | TEST CVv10275
Ls Angi Calor 90012 ,
Los Angeles, fornia - .

name, address, and telephone number of pial atiorney: or lait wtbeut an stormy, be ANDREW L SHAPIRO, ESQ.

(Ei esabro,lnchectit ol ndmera oltre del abopece dal Gemererte, o del domarnarée gue.no Bene ebogedo, a1):
LEWITT, HACKMAN, SHAPIRO, MARSHALL & HARLANS Carte
16633. Ventura Boulevard, 11th Floor, ENCING, CA D436 Sherr F R: r Executive Officer (cpunalgout urt

ae 03/26/2018 ey (Secretar) — Nancy Alvarez en

 

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(amr ontop to x han tea tm Pett Sve of Sree, POS-01)
NOTICE TO THE PERSON SERVED: You are served
1. [) es enindividuel defendant. -
2c) os the pereon aed under tito name of fepect:

3. Cr ontatart wrt H sng  Corgocativor

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under: [27] cop 41840 CCP 416.60 (minor)
Cc CCP 418:20;{eidfonet corporation) CCP 418,70 (conservetve)
[} CCP'416.40 {eenoctation or partnership) [""] CCP 416.00 (authorized person)
(J other (apacty: - -
4. (_] by personal delivery on (ate):-
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Page 4 of 26

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SHAPIRO,
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ANDREW L. SHAPIRO, SBN Osi

LEWITT, HACKMAN, a

OE MARSHALL & HARLAN Cor aL
entura Boulevard, 1 on es wesw

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Telecopier: (818) 981-4764... yer .

Attomeys for Plaintiff wey 3

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SUPERIOR COURT OFTHE STATE OF CALIFORNIA
FOR THE.COUNTY OF LOS ANGELES

JON SHIFFMAN, CASENO: 19STCV10275
| <) Plaintiff, ) COMPLAINT FOR DAMAGES
“| ) (PERSONAL INJURIES)
vs. are - ~ ‘ . : . 8

‘ (UNLIMITED JURISDICTIO
TARGET CORPORATION, YOHANA.” TION)

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ee) | PARES ato

Ne is || Defendants.
7} aruereereerenean
18 re MNS 2
19 | COMES NOW PLAINTIFF JON SHIFFMAN AND ALLEGES AS FOLLOWS:
20 FIRST CAUSE OF ACTION FOR
21 | NEGLIGENCE AGAINST ALL DEFENDANTS
22 L. The true names snd caatiie, wether individual, corporate, associat o
3 otherwise of Defendants named igre'és DOES. through 20, inclusive, are unknown to
24 Plaintiff at this time who therefore sues said Defendants by such fictitious names. Plaintiff is
25 informed and believes and thereat alleges theteach of the Defendants named herein as a DOE is
26 negligently or in some other manner legally liable and responsible for the events and happenings
27 hereinbelow described and by thieii’ condtict did directly and proximately cause Plaintiff to suffer
28 and sustain the serious and permanent damages and injuries set forth below. Plaintiff will seek

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maraven Peet +, COMPLAINT FOR DAMAGES

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leave to amend this pleeding to reflect their true amet and capacities when the sabe are

2. _ Plaintiff is informed arid’ believes and thereon alleges that at all times herein
mentioned, Defendants, TARGET CORPORATION and DOES 1 through 5, inclusive, and each
of them, were and are corporations dtily organized and existing under and by virtue of the laws
of the State of California. At all times herein méntioned, said Defendants were carrying on
business in the City of Los Angetes, County of Los Angeles, State of California,

3. Plaintiff is informed and believes-and thereon alleges that at all times herein
mentioned, Defendants, and each of them, were the agents, servants and employees of each and
every other Defendant herein and were acting at all times herein mentioned within the purpose,
course, scope and authority of said agency, dervice anid employment and with the consent,
permission and knowledge of their co-Deféndants.. ©

4. Plaintiff is informed tind believes and thereon alleges that at all times herein
reationd, Pini informed ani elv ndhed allges that Defendant YOHANA
| HANA, and DOES 6 and 7, were Leaders LSadérd Oi Diy at ihe time of all events that occurred herein,
Plaintiff is further informed and believes and tciconaligges that at all times berein mentioned"

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EVAN, SHAPIRO,
@ HARLAN
4 108 CORPORATION
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LEWITT, HAC
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an &

 

 

17 Defendant SARAH LIPSCHUTZ, tnd DOS 9, were the Managers On Duty at all times®?
18 || relevant herein. ero Sates et ot

19 S. Plaintiff is further infor7mod anid believés and thereon alleges that said Defendants,
20 at alltime herein mentioned, were and are reSidelite Gf the County of Los Angeles, State of

21 California. - nema wee Se

2 6. A al times beri nied etindnnts TARGET CORPORATION, DOES |
23 || through 20, Inclusive, and each oil lini digi, construc owned, opr,

24 maintained, entrusted, supervised sid inspected a a Certain business establishment commonly

25 || known as “TARGET” located at or ‘neal 840 Welerly Boulevard in the City of Los
26 County of Los Angeles, State of Ciiiraraté’? ** at oe . gees,

Aw 5 BUbe eae 2, on

 

 

 

 

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mecrout0 rare! + COMPLAINT FOR DAMAGES
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Page 6 of 2¢

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ahem k Bie Tye Os
1, On or about April 6, 2017, Plaintiff JON SHIFFMAN was lawfully upon the Sop.

premises of sid “TARGET” storeand was thch nd there a customer using the pemian ina |

| normal fashion. TER Ea ay eek

&. _ Atal ioe ne ne it Dn and each of them, so negligently, |

li npc npc te bj penis oe “TAROET” tra tly

| proximately cause and allow a dangerous and hazardous condition to then and there be present.

te seid ciilipd clea. rsa hades duces eles: bec ace

| wall of the restroom in said “TARGET” store. Said used needle container was designed to safely |

Peace een te ye te usto ners could not, and should not be

  
  
  
  
  
  
  

 

    

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9%. “On April 6, 2017, dit Ab container was negligently, carelessly
and recklessly owned, operated, maintained, cupérvice mea $0 a9 to cause and allow

 

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serious damages tad ine iA i ei forth at

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10. Atsaid time and plice, Bets dents “ae each of them, acted so negligently,
cry nd eklnly aor niyo adit rine
Plaintiff to suffer and sustain the sefiolis and permanent injuries and damages alleged below.
1k. By reason of the conduct 6 St th Deedes, and each of ther, and adie and
soma tach dad | in his health, strength and activity,

proximate result thereof, Plaintiff was hurt and i nj
sustaining injury to his body and shock aid hehilty io his Rervous system and person, all of which

ale ee Gren

: said injuries have caused and continue "to dade Blaine iif great mental, physical and nervous pain
and suffering. Plaintiff is inforined ad belived icved and thereon alleges that said injuries will result

 

 

 

 

 

  

 

 

 

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in serious permanent disability to‘tie’ Tal : ‘Whit general damage imam amount which wl

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Case 2:19-cv-04986-MWF-GJS Document 1 Filed 06/07/19 Page 50 of 70 Page ID #:50
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12. Asa further direct and proximate result of the conduct of Defendants, and cach of
them, Plaintiff was required to and did'employ physicians to examine, treat and care for him and
said Plaintiff did incur medical and itcidemal-expense. The exact amount of such expense is
unknown at this time and Plaintiff will therefore’ svek-feave to amend this Complaint to set forth
the exact amount thereof when itis ascértninéd:

13. Asa further direct aiid prbtineate résutt of the conduct of Defendants, and each of
them, Plaintiff was prevented from attending to his usual occupation and Plaintiff is informed
and believes and thereon alleges that he will thereby be prevented from attending to said usual
occupation for a period in the future all to his further damage in an amount which will be set
forth according to proof when the same is sscertained,

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Q9 oul
35, 12 WHEREFORE, Plaintiff prays agains ‘Defendants as follows:
as 13 1. For general damages i in an amount which wilt be set forth pursuant to California
§5z 14 Code of Civil Procedure, Seetion 425. 1 i

aes 15 2. For medical and incidental Gx expenses sccoriling to proof:

ES 16 3. For loss of eamings and earning capacity according to proof; *

4 17 4, For costs of suit incurred heréin; and
18 5. For such other and further relief as this court deems just and proper, including but
19 || not limited to prejudgment interest as allowed by lew.”
20 |] Co
21 DATED: March 25, 2019 _Lewrry, HACKMAN, SHAPIRO,
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SUPERIOR COURT OF CALIFORNIA); wr itda.
COUNTY OF LOS ANGELES
COURTHOUSE ABSRESE: FILED
Spring Street Courthouse . Coun of Catfarria
312 North Spring Street, Los Angeles, CA-90012° 610... 73 of Los Angaies
03/26/2019
NOTICE OF CASE ASSIGNMENT Shenk. Carte, Gaaatee Oficer } Gok ef Cows
‘ ~" ee tle Nancy Aivenz Ceputy
UNLIMITED CIVIL CASK...” aoa wan . . $$
“Chee ae
Your case is assigned for all purposes to the judicial officer indicated below. | 19STCV10275
THIS FOR ERVED WITH THE
ASSIGNED JUDGE DEPT | ROOM ASSIGNED JUDGE DEPT | ROOM
¥ |Jon R. Takasugi 3 _ wad.
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Given to the Plaintiff Cross-ComplainaniAtomey of Record » Sherri R. Carter, Executive Officer / Clerk of Court

on 93/26/2019 a “oy By Nancy Alvarez . Deputy Clerk
LACIV 190 {Rev 6/18) NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE ,
LASC Approved 05/06
5-15-2019 000250520G0001 6020190515013253

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Case 2:19-cv-04986-MWF-GJS Document1 Filed 06/07/19 Page 52 of 70 Page ID #:52
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The following critical provisions of the California Rules of Court, Title 3, Division 7, os applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

 

oe ee eT Caen aiol hecare Section 170.6 must be made within 1S days after notice of assignment for all purposes
to dee, + ifs party bes not yet eppenre, within 15 days of the first appearance.

Cases assigned to the Independent Calendaring Courts will be subject t6 processing iander the follawing time standards:
COMPLAINTS ve
All. complaints shall be served within 60 deys of fling and proof of service shall be filed within 90 days.

PLAI
Gabo are cP cost fest being. obtained, no eeocs-<intBsi¥ sey bo GIBU'UG iny pany after thelr answer is fled. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

ATL INF.
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINA] TL R. :

The Court will require the parties to attend a final status’ conference sdot rnore than’ 10 days before the scheduled trial date. Alf
parties chali have motions in limine, bifurcation motions, statements of major evidentiary iscues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five.days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted 10 the court 2 brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules,

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SANCTIONS

The court will impose appropriate. sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court.or by.the Chaptér-Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This in lot a complete delineation af the Division 7 or Chapter. “Three Ruiles; and adherence only to the above provisions is
therefore not a guarantee against the imposition of-sanctions ander. rial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rutes is imperative.

Class Actions

Pursuant to Local Rule 2.3, all class actions shall be filed wt the Stanley Mosk Coutthouse and are randomly assigned to a complex
judge at the designated complex. courthouse. If the case is found not to bé a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

“Provisionaliy Complex Cases

Casts fled es provisional complex are intially assigned 40’ Supecvising, lodge of complex litigation for determination of
contplex status, If the case is deemed to be complex within the medning of, California Rules of Court 3.400 et seq., it will be
randomly assigned to « complex judge a the designated comafex, courthouse If the case is found not to be complex, it will be
retumed to an Independent Calendar Courtroom for all purposes. : “stolen ot ee

e ar "ey ve wae .
LACIV 190 (Rev 6/18) NOTICE OF CASE ASSIGNMENT ~ : UNLIMITED CIVIL CASE
LASC Approved C5706
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5 FOR THE COUNTY OF LOS ANGELES Dios oe

° IN RE PERSONAL INJURY } CASE NO.:

COURT (PICOURT") PROCEDURES, )
g | CENTRAL DISTRICT — ) STANDING ORDER RE: PERSONAL
(EFFECTIVE APRIL 16, 2018) ) INJURY PROCEDURES, CENTRAL

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18 -
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22 TO EACH PARTY AND TO THE ATTORNEY OF RECORD FOR EACH PARTY:
23 Pursuant ta the California Code of Civil Procedure (“C.C.P."), the California Rules
24 || of Court (“C.R.C.") and the Les Augeles County Court Roles (“Local Rules”), the Ler
25 |] Angeles Superior Court (“LASC” or “Court” HEREBY AMENDS AND SUPERSEDES
26 || THE AUGUST 10, 2017 SEVENTH AMENDED GENERAL ORDER AND, GENERALLY,
27 || ORDERS AS FOLLOWS IN THIS AND-ALL OTHER GENERAL JURISDICTION
28 PERSONAL INJURY ACTIONS FILED INTHE CENTRAL DISTRICT.

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Standing Order Re Persoaul ijery Procedures, rata! Disria
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Case Cover Sheet Addendum (form LACIV 105). The Court defines “personal injury” as:
“an untienited civil case described! on the Civil Case Cover Sheet Addesdum and
Statement of Location (LACIV 109) ax Motor Vebiicle Personal injuryProperty
Damage/Wrongfol Death; Pesscnal injory/Propety Dicmage/Wrangfl Death
Uninsured Motorist; Product Liability (other than asbestos or
toxiceavironmental);, Medical Malpractice-Physicinns & Surgeons: Other
Professional Health Cure Malpractice; Premises Lishility; Intentions! Bodily
injury/Property Damage/Wrongfdl Death; or Other Personal Injury/Propenty
Damage/Weongfal Death. An action for intentional infliction of emotional
distress, defamation, civil rights/discrimination, or melpractice (other then
medical malpractice), is not included ia this definition. An action for injury to
teal property is mot included in this definition.” (Local Rule 2.3(a){1)(A}.)
Consistent with Local Rule 2.3(9)(1)(A), the Court will assign a case to the Fl Courts if

Plaintiff{s) check any of the following boxes in the Civil Cast Cover Sheet Addendum:

A710 Motor Vehicle’= Persons! injaryPriperty Damage/Wrongfl Desth

   
  

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10
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13
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17 A7110 Personal Injury/Propesty Damage! Wrongful Death - Uninsured

18 Motorist Opie bege eee

19 A7260 Product Liability (oat asbestos or toxic/environmental) *
20 A7210 Medical Malpractice — Physicians & Surgeons

24 crash pene nalbmsice— Other Profesional Heath Cre Malpesice

22 A7250 Premises Liability (¢.g., slip and fall)

23 A7230 Intentional Bodily. Injury/Property Damage/Wrongful Death (eg,

24 assault, vandalism cic.) Bea! ‘

25 7220 Other PersoualljujfProjerty Dionige/Wronghel Death

26 The Court will not assign cases to the Pl Courts if plaintififs) check any boxes elsewhere

27 i il Cae Cove Sn end (ay Done om pages yn wd ee of fan.
28 Te em te te hoe”

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‘The Court sets the above dutes in this ection in the PI Court circied sbove (Department
2,3, 4,5, or 7) ot the Spring Street Comthouse, 312. North Spring Street, Los Angeles, CA 90012.
(CRC, Rases 3.714(6K3), 3.729, ett gee,

2, "Paes uy fle dosent a pra th Mg wndow on he Sin oar of tu Sey
Mosk Courthouse (11! N. Hill Street, Los Angeles, CA. 90012) or by U.S, Mail or &-Delivery,
which is available online st sw Jncpurt.ore (lik on homepage). Please note that filings are no
longer accepted via facsimile und must be filed either in person, via U.S, mail or via e-Delivery,
Claims involving en sttomey-cliant foe dispute, documents in which the filing party Is a minor,
legally incompetent person, or person for whom a conservator has been appointed, requests to

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SERVICE OF SUMMONS AND COMPLAINT

3. Plast) shal eerve the summons snd complain in fis etan upon dafeedants) ss
soon es possible but no later than throe vears from the date when the complaiat is filed.

(CCP, § 583.210, subd {a},) On the OSC re Dismissal date noted above, the PI Court will
dismias the action and/or ol unserved parties unjess the plaintiff's) show cause why the action
Or the waserved parties should not be dismissed, (C.C.P. §§ 583.250; $81, subd, (bY(4),)
4. The Court sets the above tial and,FSC dates on condition that plaintiffs) effectuate
service on defendant(s) of the summons and complaint within six months of filing the complaint,
5. The Pi Court will diamies the cese without prejudice pursuant to C.C.P. § 581 when no

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trial date, the parties (or their counsel of record) should jointly execute and submit (at the filing
window on the first floor of the Stanley Mosk Courthouse, via U.S. mail or vin e-Delivery; fee
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Page 3 of 8
Standing Order Re Personal Injury Procedures, Central District

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LAW AND MOTION , an '
$. Any documenta with declarations andor oxhiblts must be tabbed. (CRC. Rule
3.1 110¢f),) All depositions excespts referenced in briefs must be marked on the transcripts *
attached as exhibits. (C.R.C, Rute 3.1116(c).)

9. In addition to filing original motion pepers at the filing window on the first floor of the

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2018-83-067-05

RESERVATION HEARING DATE |

 

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WITHDRAWAL OF MOTIONS
11, California Rules of Court, Rute 3,1304(b) requires a moving party to notify the court
immediately if a matter will nat be beard on the scheduled dats, In keeping with that rufe, the Pl

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13. Parties mrust participate in an IDC befare » Motion to Campel Further Resposses to
Discovery will be heard untens the moving party submits evidence, by way af declaration, that
the oppasing party hes failed or refused to participate in an IDC. Scheduling or participating in
t= IDC does not automatically extend any deadlines iraposed by the Code of Civil Procedure for
aticing and filing discovery motions. Ideally, the parties. chould pertiofpate in an IDC before a
motion is filed because the IDC may aveld the necessity of's mation or reduce its scope. Because
9F hat possibility, atemeys are encouraged to stipulate to extend she 45 (or 60) day deadline for
filing « motion to compel further discovery responses ini order to allow tine to participate io on

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‘that complies with the notice requirements of the Code of Civil Procedure.
4, Parties are directed to reserve IDC dates in the PI Courts using CRS available online at
wrenw Jecourtorg (link on homepage). Pasties are to meet and confer regarding the available

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12 Fequestor must file in the appropriate department and:serve an Informal Discovery Conference
13 [| Form for Personat Injury Courts, from LACIV 239 (revised 12/14 or later) at least 1Scourtdays |
14 Prior to the conference and attach the CRS reservation receipt as the last page. The opposing i
15 party may file and serve a responsive IDC form, briefly actting forth that party's response, at ~
16 jjleast lO courtdayapriortotheIDC, =.

Ps

15, Time permitting, the Pi Hub judges may be available to participate in IDCs to ry to
resolve other types of discovery disputes, _

16. Under the Catifomia Rules of Court, courts may only grant ex parte relief upon a
showing, by sdmissible evidence, that the moving party will suffer “inepemble herm,”
“tmmediate danger,” or where the moving party identifies “e statutory basis for granting relief
e pesta.”. (C.R.C. Rute 3.1202(c).) The Pl Courts haye.oo enpacity to hear multiple ex porte
spplications or to shorten time to add hearings to their fully hooked motion calenders. The PI
Courts do not regard the Court's unavailability for timely motion hearings as an “immediate
| danger” or direat of “irreparable harm” justifying ex porte setief, Instead of seeking ex porte
relief, the moving party should reserve the earliest available motion hasring date (even if it is
after the scheduled trial date) and should file a motion to.continue tial, Parties should also check

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the Court Reservation System fiom time (o time because eariler hearing dates may become
availabic as cases settin or heurings are taken aff calendar. -

REQUEST FOR TRANSFER TO INDEPENDENT CALENDAR DEPARTMENT

7 Parties secking to transfer a case from’a Pl Court to ‘an Independent Calendar (“VC”)
Court shall file (at the filing window on the firs! flour of the Stantey Mosk Courthouse, vie US.
mail or via e-Delivery) and serve the Court's “Motion to Transfer Complicated Persona! Injury
Case to Independent Calendar Court” (form LACIV 238, available on the Court's website under
the Pl Courts link). The Pl Courts will transfer = rhatter to an VC Court if the ces is not a
“Personal Injury” case as defined in this Order, or if it is “complicated.” in determining whether
® personal injury case is “complicated the PI Courts wilt cansider, among other things, the
umber of pretrin! hearings or the complexity of issues presented.

18. Parties opposing « motion to transfer have five court days to file (ai the filing window
on the first floor of the Stanley Mosk Courthouse, vis U.S. mail or via ¢-Delivery) un Oppositian

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14 |{ (using the same LACIV 238 Motion to Transfer form).
15 |] 19. The PI Courts will not canduct « hearing on any Motion to Transfer to WC Court. | *
16 |] Although the parties may stipulate to transfer a case to’an Independent Calendar Department, the | “7

&

Pi Courts will make en independent deterinination whether to transfer the case or nol.
FINAL STATUS CONFERENCE

20, Parties shell comply with the requirements of the PI Courts! “First Amended Standing
Onder Re Final Status Conference,” which shall be served with the summons and complaint.
JURY FEES he

21. Parties must psy jury fees ao later than 365 calendar days afler the filing of the initia!
complaint. (C. C. P. § 631, subds. (b) end(c).) tse oy

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Muster Calender Court, Department One, in the Stanley Mosk Courthouse. Department One
will assign cases oul for trial to dedicated Civil. Trisl.Cqurtrooms and designated Criminal
Courtrooms. poets

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[Tote Parson

The dates for Trial and Fins! Status Confarence (“FSC”) having been sat in this matter, the

|} ORDER-RE: FINAL STATUS CONFERENCE, PERSONAL INJURY ("PI") COURTS

jissues, mations in fimine, end the authentication and admissibility of exhibits,

Page 18 of 26

2018-S008-4K)

 

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES ~ CENTRAL DISTRICT
ine y Cases Assigned FIRST AMENDED STANDING ORDER -
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Courthouse) (cece ob ANG ooo

Court HEREBY AMENDS AND SUPERSEDES ITS JANUARY 2, 2918 STANDING I
¥
AND, GENERALLY, ORDERS AS FOLLOWS IN THIS AND ALL.OTHER GENERAL ‘fF
JURISDICTION PERSONAL INJURY ACTIONS: _, °
1. PURPOSE OF THE Fec
The purpose of the FSC Isto verity thal the paities/counsel are complately ready to
proceed with trial conlinuously and efficienily, fromm day to day, unt verdict. The Pl Courts
will verty at the FSC that sil partes/councel have (1) prepared the Exhibit binders and Til
Document binders and (2) met and conferred in an effort to stipulate to ultimate facts, legal

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2, TRIAL DOCUMENTS TO BE FILED * *

At least five calendar days prior to the Final Stsius Conference, the parties/counsel
shel serve and fle (in Room 102 ofthe Stanley Mask Courthouse or by e-Devary) the
following Tal Resdiness Documents:

A. TRIAL BRIEFS (OPTIONAL)
Each partyicounsel may file, but ts not required to file, a trial brief succinctly

   
   
    
 

(1) the claims and defenses subject to litigation:
(2) the major lega! issues (with supporting points and authorities);
(3) the relief claimed snd calculation of damages sought; and
(4) any other information that may essist the court at trial. t
B. MOTIONS INLIMINE
Before fing motions in imine, the parties/counsel shell comply wih the ”
stajutory notice provisions of Code of Civil Procedure (°C.C.P.") Section 1008 and the
requirements of Los Angeles County Courl Rute (‘Local Rule") $.57(a). The caption of
mation in timine shail concisely identify the evidence that the moving party secksto
precude. Parties filing more than,one mation in imine shall number them consecutively.
Parties filing opposition and reply papers shail identify the corresponding motion number ki
the caption of their pzpars.

c. JOINT STATEMENT TO BE READ TO THE JURY

For lury tals, the partles/oounsel shall work topather to prepare end fe a joint
written statement of the case for the courl to read to the jury. Local Rule 3.25(9)4).

D. JOINTWITNESSLST

The parties/counsel shel work together fo propare and file a joint ist of all
wiinesses in alphabetical order by last name that each party intents to call (axcluding
impeachment and rebuttal witnesses), Locel Rule 3.25(g\5). The joint witness ist shall
\dentty each winess by name, eecly which witnesses, ara expert, and estimate the lengt
Ofte Geek com eainaion and r-ec ana fay) ofeach wanes, The

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8 The parties/counsel shall jolnily prapare and fe a lst of propouad jury

7 || natructions, organized in numerical order, specifying the Instructions upon which all sides
6 |] agree and the contested instructions, f any. The List of Proposad Jury instructions must
® || inctude @ space by sach instruction for the Rudge to indicale whether the instruction was
10 iigiven. .

"1 F, JURY INSTRUCTIONS

12 (JOINT AND CONTESTED)

13 The parties/counsel shall prepere 2 complete set of full-text proposed jury | *

14 instructions, editing all proposad Callfomia Civil Jury instructions (CACM) and insart party ~
1S || name(s) and elfminate blanks and relevent material. The partiew/counsel chall prepare |
fa Special Instructions in 2 format ready for submission to the jury with the instruction number,
7 title, and text only (Le., there should be no boxes.or ather indication on the printed

18 [linstruction ssif 2a to the requesting party).

10 a, JOINT VERDICT FORM(S).. : ae

2 The parties/counsel shall prepare and jointly file s proposed general verdict
21 || form or special verdict form (with interrogatories) acceptable to all sktes. Local Rule

2
23 *
4 H. JOINTEXHIBITLIST. = -

25 The parties/counse! shell prepare and fis a joint exhibit Est organized with
26 |[ columns Identifying each exhibit and specifying.cach patty's evidentiary objections, if any, tol
27 || admission of each exhibit. The parties/counse! shall mest and canfer in an effort to resolve
2

objections to the admissibility of eacti exhibit... ao
.c. Paeacts

 

 

FIRST AMENDED ORDER RE FINAL STATUS CONFERENCE, PERSONAL INJURY COURTS (Elective Apel $8, 2018)
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lL _ PAGE AND LINE’ DESIGNATION FOR

DEPOSITION AND FORMER TESTIMONY
If the parties/counse! intend to isa deposition testimony or former trial
testimony In flew of any witness's five testimicny, tha paities/counsel shall meet and confer
and jointly prepare and fle 8 chart with colimns for each of the following: 1) the line and
[nage designations of the deposition ce fonier testimony requested for use, 2) objections,
3) counter-designations, 4) any responses thereto, and 5) the Court’s ruling.

3.  EVIDENTIARYEXHISITS
The paities‘counsel shail jointly prepara (and be ready to temporarily lodge for

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in the exhibit bindar. If the parties have a jolt signed exhibit list and efectronic copies of *
thelr respective exhibls, then the parties/counsel will not ba required to produce exhibit: ~
binders at the FSC. However, tha exhibit binders-may be required by the assigned trial *
judge when the trial commences. In the ebgence of aithar a joint signed exhibit fst or &
electronic caples, exhibit binders will be requirad by ail partiss/counsel at the FSC, ‘ad

4. TRIAL BINDERS REQUIRED IN THE PI COURTS “

The partles/counsel shall jointly prepare (and be ready to temporarily lodge and
include the following for inspection at the FSC) the Trial Documents consisting of conformed|
Copies, tabbed and organized ino three-ring binders witha table of contents thet inaktss
the following: s ae

Tab A: Tal Briefe (Optone)) Meee at

Tab B: Motionsintimine =, beat

Tab C: Sot Statement Be ead ody

Tab D: Joint Witness List: 3... 7
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FIRST AMENDED ORDER RE FINAL STATIS GONERENCE: PERSONAL NUURY COURTS (EMbctve Apa (8.2018)
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Tab E: Joint List of Jury Instructions (identifying the agreed upon and
contested instructions) mo

TebF: Joint and Conteatéd diiry insinietions

TabG: Joint and/or Canteated Verilict Form(s)

Tabi: Joint Exhibh Uist

Tabi Joint Chart of Page arid Lins Oesignation(s) for Deposition and Formar
Testimony Doe.
Tabd: Copies of tha Current Operative Pleadings (Including the cperative
complaint, answer, crost-compiaint, § any; and answer to any cross-compiaint).

The pertles/counsel shall organtze motions in imine (tabbed in numerical order)
11 || bahind Tab B with the opposition papers and reply papers for each motion placed diractly

Seen eamnmun =

1s & FAILURE TO COMPLY WITH FSC OBLIGATIONS

16 The court has discretion ta raquire eny party/counsel who falla or refuses to comply’?
7 || With this Amended Standing Onder to show-cause why -the Court should fol knpose ”
18 || monetary, evidentiary andor isstts sanctions (including the entry of = default or the striking
18 |} of an anawar), Lee ale ett

 

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a

Superior Court of California,

County of Los Angeles

 

ALTERNATIVE DISPUTE.RESOLUTION(ADR)
INFORMATION PACKAGE .
THE PLAINTIFE-MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAMNT,

*

CROSS-COMPLAINANTS must serve this ADR information Package oltany.new parties named to-the action
with the cross-complaint. . ,

 

 

 

What is ADR? .

ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration and settlement conferences. Whee. ADRs done by phone or computer, it may be caliad Online
Otspute Resolution (ODR). These “alternatives” to litigstion’and trial are described below.

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Advantages of ADR
Saves Time: ADR ts faster than going totrial, -
Saves Monay: Parties can save on court costs, attorney's fees-and withess fees.
Keeps Centro! with the parties: Parties choose thelr.ADR process and provider for voluntary ADR. .
Reduces stress/protects privacy: ADR is doné cutside the courtroom, in private offices, by phone or oniina.(

Disadvantages of ADR ve a BTR
* Costs: If the parties do not resolve their dispute, they may have to pay for ADR snd iitigation and trial, «73
* No Public Trial: ADR does not provide a pubile trial cra decision by a judge or Jury. a

1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
settiemant agreement instead of a trial. if the pacties have lawyers; they will negotiate for their clients.

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2, Mediation: in mediation, a neutral “mediator” listens to each pergon’s concerns, helps them evaluate the
strengths and weaknesses of their case, and works with them to try to create a settlement agreement that &s
acceptable to sll. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

Mediation may be appropriate when the parties .
* want to work out a solution but ned help from a neutral person.
« have communication problenis or'steoig eiictions that Interfere with resolution.
Mediation may not be appropriate wher the parties -
want 3 public trial and want a judge or jury to decide the outcome.

* lack equal bargaining power or have a history of physical/emotional abuse.
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How to arrange mediation In Los Angeles County
Mediation for civil enses is voluntary and partias may select sny mediator they wish. Options inctude:

a. The Civil Mediation Vendor Resource List: .
Partles may contact these orgentzations to request a “Resource Ust Medistion” for reduced-cost or
Nee for sled cases medion eran with OOR (Bln cnt

 

. Free, ¢, day- of trial mediatlons at-the courthouse for small claims, untawful detainers (evictions)
and, ot the Stanley Mask Courthouse, limited civil. No appointment needed.

© Free or tow-cast mediations before the day.of trial for these and other-case types..

* For GDR by phone or computer for.smalhclaims or-untawful datainer (eviction) cases before the
erat vist

 

 

 

 

3. Arbitration: : Arbitration fs less formal than tit but like trial, the parties present evidence and arguments tothe
person who decides the outcome. In “binding” arbitration; the arbitrator's decision Is final; there Is no right to
tial. In “nonbinding” arbitration, Creed eee ese 8 ral after the arbitrator's decision. For more 1
information about arbitration, visit http W-courts.ca.gou/pri: ‘

 

4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
date. The parties and their attorneys meet with a judge or settlement officer wha does not make a decision but
assists the parties in Phe Cee Se eens and weaknesses of the case and i negoting 9 settlement.

For information about the Court's MSC programs fat civil cases, vsk: wv ivision/civil/settle:

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Los Angeles Superior Court ADR website: www.lacourt.org/division/civil/settiement
For general information and videos about ADR, visit http: courts. dr.htm
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ANDREW L, SHAPIRO, ESQ., SBN. 051546

LEWITT, HACKMAN, SHAPIRO,
MARSHALL & HARLAN =" a

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Encino, California 91436-1865"; ~:-: 2A errors “

Telephone: (818) 990-2120

Telecopier: (818) 981-4764 oo a nie

Attomeys for Piaintiff

 

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SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY. OF LOS ANGELES

PLAINTIFF’S STATEMENT OF
DAMAGES (CCP §425.11)

JON SHIFFMAN,

 

VS.

TARGET CORPORATION, YOHANA”
HANA, SARAH LIFSCHUTZ, and DOES
1 through 20, Inclusive,

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TO THE DEFENDANTS AND THER. ATTORNEY oF RECORD:

COMES NOW PLAINTIFF, JON SHIFEMAN, ‘and hereby submits his Statement of
Damages, pursuant to Code of Civil Procedure (25.14% should be noted that discovery and
danger contining td pif restive he righ amend, modify o epplement hi

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information if, as or when further or Aettet informnation becomes available.
1. General damages in the amount df $750,000.00.

2. Medical and incidental expenses according to proof.
3. Loss of Eamings and earning capacity according to proof
4. Costs of suit incurred herein, *

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PLAINTIFF'S STATEMENT OF DAMAGES
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DATED: March 25, 2019: Awi.8. i'w. bes

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5. Such other and further feliéf as this Coutt deems just and proper, including but

 

necveuen parca PLAINTIFF'S STATEMENT OF DAMAGES

Page 26 of 26

 

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FORNEY

 

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

_ At the time of service, I was over 18 years of age and nota party to this
action. I am employed in the County of Los Angeles, State of California. My
business address is 801 S. Figueroa St, 15th Floor, Los Angeles, CA 90017-3012.

On June 7, 2019, I served true copies of the following document(s) described
as NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. 1441(b)
(DIVERSITY); DECLARATION OF JOSHUA K. BABATAHER on the

interested parties in this action as follows:

Andrew L. Shapiro, Esq.

Lewitt, Hackman Shapiro, Marshall & Harlan
16633 Ventura BI,,11th Floor

Encino, CA 91436

P: 818.990.2120

F: 818.981.4764

Email: ashapiro@lewitthackman.com
Attorney for Plaintiff

Jon Shiffman

BY MAIL: I enclosed the document(s) in a sealed envelope or package
addressed to the persons at the addresses listed in the Service List and placed the
envelope for collection and mailing, following our ordinary business practices. [am
readily familiar with the practice of Manning & Kass, Ellrod, Ramirez, Trester LLP
for collecting and processing correspondence for mailing. On the same day that
correspondence is placed for collection and mailing, it is deposited in the ordinai
course of business with the United States Postal Service, in a sealed envelope wit
postage fully prepaid. 1 am a resident or employed in the county where the mailing
occurred. The envelope was placed in the mail at Los Angeles, California.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct and that I am employed in the office
of a member of the bar of this Court at whose direction the service was made.

Executed on June 7, 2019, at Los Angeles, California.

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Pe a
_-Bfenda Leonardo

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Case No.
NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §1441(b}) (DIVERSITY), DECLARATION OF .

 

 

 

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